Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF LOUISIANA

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                J-H-J, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  5910 Airline Highway
                                  Baton Rouge, LA 70805
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  East Baton Rouge                                                Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  5963 Plank Road, Baton Rouge, LA 70805 and
                                                                                                  9702 Greenwell Springs Road, Baton Rouge, LA
                                                                                                  70805
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor    J-H-J, Inc.                                                                               Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
                                          Chapter 11. Check all that apply:
                                                             Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12


9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                               Case number
                                                 District                                 When                               Case number


10. Are any bankruptcy cases            No
    pending or being filed by a
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor     See Attachment                                               Relationship
                                                 District                                 When                           Case number, if known




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
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Debtor   J-H-J, Inc.                                                                             Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                    5001-10,000                               50,001-100,000
                                 50-99
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                    19-51367 - #1 File 11/15/19 Enter 11/15/19 13:56:45 Main Document Pg 3 of 14
Debtor    J-H-J, Inc.                                                                              Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      November 15, 2019
                                                  MM / DD / YYYY


                             X   /s/ Garnett C. Jones, Jr.                                                Garnett C. Jones, Jr.
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Barbara B. Parsons                                                    Date November 15, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Barbara B. Parsons 28714
                                 Printed name

                                 The Steffes Firm, LLC
                                 Firm name

                                 13702 Coursey Blvd.
                                 Building 3
                                 Baton Rouge, LA 70817
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     225-751-1751                  Email address      bparsons@steffeslaw.com

                                 28714 LA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
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Debtor    J-H-J, Inc.                                                                       Case number (if known)
          Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF LOUISIANA

Case number (if known)                                                   Chapter      11
                                                                                                                      Check if this an
                                                                                                                        amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                   page 5
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Debtor     J-H-J, Inc.                                                                    Case number (if known)
           Name


Debtor     Baker Piggly Wiggly, L.L.C.                                           Relationship to you               Affiliate
           Western District of Louisiana
District   Lafayette Division                       When     11/15/19            Case number, if known             TBD
Debtor     BR Pig, L.L.C.                                                        Relationship to you               Affiliate
           Western District of Louisiana
District   Lafayette Division                       When     11/15/19            Case number, if known             TBD
Debtor     Lafayette Piggly Wiggly, L.L.C.                                       Relationship to you               Affiliate
           Western District of Louisiana
District   Lafayette Division                       When     11/15/19            Case number, if known             19-51366
Debtor     SVFoods Avondale, L.L.C.                                              Relationship to you               Affiliate
           Western District of Louisiana
District   Lafayette Division                       When                         Case number, if known             TBD
Debtor     SVFoods Big Pic, L.L.C.                                               Relationship to you               Affiliate
           Western District of Louisiana
District   Lafayette Division                       When                         Case number, if known             TBD
Debtor     SVFoods Harvey, L.L.C.                                                Relationship to you               Affiliate
           Western District of Louisiana
District   Lafayette Division                       When                         Case number, if known             TBD
Debtor     SVFoods Jefferson, L.L.C.                                             Relationship to you               Affiliate
           Western District of Louisiana
District   Lafayette Division                       When     11/15/19            Case number, if known             TBD
Debtor     SVFoods Little Pic, L.L.C.                                            Relationship to you               Affiliate
           Western District of Louisiana
District   Lafayette Division                       When                         Case number, if known             TBD
Debtor     SVFoods Old Hammond, L.L.C.                                           Relationship to you               Affiliate
           Western District of Louisiana
District   Lafayette Division                       When     11/15/19            Case number, if known             TBD
Debtor     SVFoods Walker, L.L.C.                                                Relationship to you               Affiliate
           Western District of Louisiana
District   Lafayette Division                       When                         Case number, if known             TBD
Debtor     SVFoods Westwego, L.L.C.                                              Relationship to you               Affiliate
           Western District of Louisiana
District   Lafayette Division                       When                         Case number, if known             TBD
Debtor     T&S Markets, L.L.C.                                                   Relationship to you               Affiliate
           Western District of Louisiana
District   Lafayette Division                       When     11/15/19            Case number, if known             TBD
Debtor     T.H.G. Enterprises, L.L.C.                                            Relationship to you               Affiliate
           Western District of Louisiana
District   Lafayette Division                       When     11/15/19            Case number, if known             TBD
Debtor     TSD Markets, L.L.C.                                                   Relationship to you               Affiliate
           Western District of Louisiana
District   Lafayette Division                       When     11/15/19            Case number, if known             TBD
Debtor     TSJ Markets, L.L.C.                                                   Relationship to you               Affiliate
           Western District of Louisiana
District   Lafayette Division                       When                         Case number, if known             TBD




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}                            District Counsel - IRS
                             PO Box 30509
                             New Orleans, LA 70190


                             Internal Revenue Service
                             PO Box 7346
                             Philadelphia, PA 19101-7346


                             Office of the U.S. Attorney - WDLA
                             Lafayette/Lake Charles/Alexandria
                             800 Lafayette St., Ste. 2200
                             Lafayette, LA 70501-6865


                             Advanced Cellular Enterprises, Inc.
                             Attn: Gurjit Sandhu
                             5950 Airline Highway
                             Baton Rouge, LA 70805


                             Airline Highway Mobile Home & RV Supply
                             5956 Airline Highway
                             Baton Rouge, LA 70805


                             Alta Supply
                             1750 South Lane
                             Suite 3
                             Mandeville, LA 70471


                             Baker Piggly Wiggly, LLC
                             5910 Airline Highway
                             Baton Rouge, LA 70805


                             Bergeron Pecans
                             10003 False River Road
                             New Roads, LA 70760


                             Bimbo Bakeries
                             Lockbox 846243
                             Dallas, TX 75284


                             BR Pig LLC
                             5910 Airline Highway
                             Baton Rouge, LA 70805




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                         BR Welding Supply, LLC
                         125 Thruway Park
                         Broussard, LA 70518


                         Brian   Cohn
                         10754   Linkwood Court
                         Suite   1
                         Baton   Rouge, LA 70810


                         Briggs Equipment
                         Lockbox 841272
                         Dallas, TX 75284-1272


                         Brunson Safe Lock Co.
                         4137 Plank Road
                         Baton Rouge, LA 70802


                         Cardtronics USA, Inc.
                         3250 Briarpark Drive
                         Suite 400
                         Houston, TX 77042


                         Cobalt Realty, LLC
                         Dr. Andre' Bruni
                         4451 Bluebonnet Blvd., Suite F
                         Baton Rouge, LA 70809


                         Coca Cola
                         PO Box 105637
                         Atlanta, GA 30348-5637


                         Cochran Scales, Inc.
                         3210 NE Evangeline Thruway
                         Lafayette, LA 70507


                         Continental Flowers
                         8101 NW 21st
                         Miami, FL 33122


                         Cox
                         701 Florida Blvd.
                         Baton Rouge, LA 70806




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                         Crown Castle Towers 05 LLC
                         Attn: Legal Department
                         Re Cell Site #817624 LA JHJ Shopping Ctr
                         2000 Corporate Drive
                         Canonsburg, PA 15317


                         David Barrett, Inc.
                         10430 Wilshire Boulevard
                         Suite 1103
                         Los Angeles, CA 90067


                         Dollar Tree Stores, Inc.
                         Attn: Lease Admin. Department
                         500 Volvo Parkway
                         Store # 6053
                         Chesapeake, VA 23320


                         Dumac
                         1001 N. 11th Street
                         Suite C
                         Monroe, LA 71201


                         Easy Money of Louisiana
                         5962 Airline Highway
                         Baton Rouge, LA 70805


                         FirstLease
                         1 Walnut Grove Drive
                         Suite 300
                         Horsham, PA 19044


                         Foxbow Realty, Inc. (as successor
                         in-interest to Hancock Fabrics, Inc.)
                         1000 Pennsylvania Avenue
                         Brooklyn, NY 11207


                         Fresenius Medical Care Capital City, LLC
                         5948 Airline Highway
                         Baton Rouge, LA 70805


                         Fresnius Medical Care Louisiana, LLC
                         c/o Fresnius Medical Care North America
                         Attention: Law Department
                         920 Winter Street
                         Waltham, MA 02451




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                          Garda CL Southeast, Inc.
                          3021Gilroy Street
                          Los Angeles, CA 90039


                          Garda CL, Inc.
                          700 S. Federal Hwy
                          Suite 300
                          Boca Raton, FL 33432


                          Garnett C. Jones, Jr.
                          5910 Airline Highway
                          Baton Rouge, LA 70805


                          General Paper Co
                          PO Box 77610
                          Baton Rouge, LA 70879


                          Guang Ming Lin
                          5920 Airline Highway
                          Baton Rouge, LA 70805


                          Hope Care of Louisiana
                          Attn: Lucille Cox
                          5906 Airline Highway
                          Baton Rouge, LA 70805


                          IberiaBank
                          200 W. Congress St.
                          Lafayette, LA 70501


                          Jackson Hewitt Tax Service
                          PO Box 77478
                          Baton Rouge, LA 70879


                          Jin's Hair Crown Beauty Supply
                          5934 Airline Highway
                          Baton Rouge, LA 70805


                          Jones Signs, LLC
                          8339 Florida Boulevard
                          Denham Springs, LA 70726


                          Kik International, LLC
                          Dept, Ch 14106
                          Palatine, IL 60055-1406




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                          Lafayette Piggly Wiggly, L.L.C.
                          5910 Airline Highway
                          Baton Rouge, LA 70805


                          Liberty Tax
                          dba Professional Tax Solutions
                          1716 Corporate Landing Parkway
                          Virginia Beach, VA 23454


                          Louisiana Lift and Equipment
                          15151 Airline Highway
                          Baton Rouge, LA 70817


                          Manda
                          PO Box 3374
                          Baton Rouge, LA 70821


                          Maruchan, Inc.
                          PO Box 31001-1614
                          Pasadena, CA 91110-1614


                          MSI Inventory Service
                          PO Box 320129
                          Flowood, MS 39232-0129


                          Ocean Select
                          1019 Nina Highway
                          Breaux Bridge, LA 70517


                          Plank Plaza Investors, LLC
                          1840 Main St.
                          Suite 304
                          Fort Lauderdale, FL 33326


                          Red Stick Wireless
                          dba Dr. Wireless
                          1431 Cottondale Dr.
                          Apt. C
                          Baton Rouge, LA 70815


                          Rivers Security
                          20088 Hwy 16
                          Amite, LA 70422




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                          Roberson
                          315 Industrial Parkway Drive
                          Bogalusa, LA 70427


                          Scariano Brothers
                          11052 Scariano Lane
                          Hammond, LA 70403


                          Secure Shredding and Recyling
                          PO Box 15465
                          Baton Rouge, LA 70895


                          Shop to Cook
                          190 Lawrence Bell Drive
                          Suie 100
                          Buffalo, NY 14221


                          ShoptoCook, Inc.
                          Attn: Frank Beurskens, CEO
                          165 Rano Street
                          Suite 100
                          Buffalo, NY 14207


                          Simple Signman
                          6602 Executive Park Court
                          Suite 201
                          Jacksonville, FL 32216


                          Stanley Access Tech
                          PO Box 0371595
                          Pittsburgh, PA 15251-7595


                          Stoplift
                          186 Alewife Brook Parkway 300
                          Cambridge, MA 02138-1104


                          SVFoods Avondale LLC
                          5910 Airline Highway
                          Baton Rouge, LA 70805


                          SVFoods Big Pic LLC
                          5910 Airline Highway
                          Baton Rouge, LA 70805




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                          SVFoods Harvey LLC
                          5910 Airline Highway
                          Baton Rouge, LA 70805


                          SVFoods Jefferson LLC
                          5910 Airline Highway
                          Baton Rouge, LA 70805


                          SVFoods Little Pic LLC
                          5910 Airline Highway
                          Baton Rouge, LA 70805


                          SVFoods Old Hammond LLC
                          5910 Airline Highway
                          Baton Rouge, LA 70805


                          SVFoods Walker LLC
                          5910 Airline Highway
                          Baton Rouge, LA 70805


                          SVFoods Westwego LLC
                          5910 Airline Highway
                          Baton Rouge, LA 70805


                          T & S Markets LLC
                          5910 Airline Highway
                          Baton Rouge, LA 70805


                          T. H. G. Enterprises, L.L.C.
                          5910 Airline Highway
                          Baton Rouge, LA 70805


                          Talk More Wireless Alabama, LLC
                          1934 Hollywood Boulevard
                          Suite 200
                          Hollywood, FL 33020


                          Ted W. Harvey
                          5910 Airline Highway
                          Baton Rouge, LA 70805


                          TSD Markets LLC
                          5910 Airline Highway
                          Baton Rouge, LA 70805




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                          TSJ Markets LLC
                          5910 Airline Highway
                          Baton Rouge, LA 70805


                          UNFI/SuperValu
                          11840 Valley View Road
                          Eden Prairie, MN 55344




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